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AO 91 (Rev. ll/ll) CriminalComplaint .»

UNITED STATEs DlsTRiCT CoURTf;w h

for the
Northern District of Texas

 

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United States of America ) EY
v. ) D@t)"€:#
Kay|a K|utts § Case NO 3’ ig m;r" r[@g/" BN
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Defendant(s)
CRIMINAL COMPLAINT
l, the complainant in this case, State that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 30 - November 7, 2018 in the county of in the
Northern District of Texas , the defendant(s) violated:
Coa’e Section Offense Description
18 U.S.C. § 1029(a)(3) K|utts knowineg and with intent to defraud, possessed fifteen or more access

devices which are counterfeit and unauthorized

This criminal complaint is based on these facts:

d Continued on the attached Sheet.

J-/@U%

Complainant s slgnature

Jason Boswe||, Specia| Agent

 

Printed name and title

SWorn to before me and signed in my presence

 

 

Jua’ge ’s signature

 

/ The Honorab|e David L. Horan

 

l ' l / ' ` Printed name and title

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AFFIDAVIT lN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

I, Jason Boswell, being duly sworn, hereby depose and state as follows:

l. l am a Special Agent with the United States Secret Service (“USSS”). l am
assigned currently to the Dallas Field Office, and I serve on a squad responsible for
conducting investigations of complex financial crimes, including wire fraud, mail fraud,
bank fraud, money laundering, and identity theft. l have been employed as a Special
Agent for 14 years. l have received training in such areas as financial analysis, financial
investigative methods and applications, as well as identity theft and fraud. l am an
investigator and law enforcement officer of the United States within the meaning of 18
U.S.C. § 1543, and I am an officer of the United States empowered to conduct

y investigations of, and make arrests for, numerous federal violations, including offenses
enumerated in Title 18 of the United States Code.

2. l submit this affidavit in support of a criminal complaint and application for an
arrest warrant charging KAYLA KLUTTS (hereinafter “Klutts”), with a violation of 18
U.S.C. § 1029(a)(3). Based on the facts set forth below, there is probable cause to
believe that from on or about August 30, 2018 to on or about November 07, 2018, Klutts
knowingly and with intent to defraud, possessed fifteen or more access devices which are
counterfeit or unauthorized, in violation of Title 18 U.S.C. § 1029(a)(3).

3. This affidavit is based on my personal knowledge, and on information provided to
me by other law enforcement officers who participated in this investigation Since this

affidavit is being submitted for the limited purpose of supporting a criminal complaint, l

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have not included each and every fact known to me concerning this investigation
FACTS ESTABLISHING PROBABLE CAUSE
4. On or about August 30, 2018, investigators received a tip from the Holiday lnn,
725 Plaza Drive, Trophy Club, TeXas, that Odis Edwards (“Edwards”) was engaged in
suspicious activity. The Holiday lnn communicated that Edwards had rented two rooms
for two consecutive nights. The Holiday Inn manager communicated that he deemed the
activity suspicious because of the number and volume of incidental purchases charged to
the rooms. Investigator learned that Edwards was sharing a room and purchasing food
with an unidentified white female.
5. On or about August 31, 2018, investigators sought to obtain an arrest warrant for
Odis Edwards as well as local search warrants for the Holiday Inn rooms rented in
Edwards’ name. While waiting for the arrest and search warrants, Edwards departed the
Holiday Inn, accompanied by two (2) unidentified white females and one (l) unidentified
white male. Investigators followed Edwards and the unidentified individuals to the
Hampton Inn and Suites, 2700 Green Oaks Road, Ft. Worth, Texas, which is in Tarrant
County and the Northern District of TeXas. At the Hampton Inn, investigators learned
that rooms 226 & 227 were rented out in Edwards’ name. Investigators then obtained
state search warrants for the two rooms rented in Edwards’ name at the Hampton Inn
(rooms 226 & 227). While executing the search warrants, investigators found Edwards

and the previously unidentified white female, (now identified as Klutts) inside of room

226.

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6. During a search of room 226, investigators located and seized a counterfeit Texas
Driver’s License with a picture of Klutts on it, a cellular telephone belonging to Klutts,
and an electronic tablet with the website titled “carding networ ” open on the screen. On
this website, numerous credit card numbers were observed. This website appeared to-be a
“chat room” for individuals buying and selling credit card numbers. Klutts gave
investigators verbal consent to search the electronic devices, which included her cellular
telephone and the electronic tablet. The same password had been used on the electronic
tablet and Klutts’ cellular telephone Investigators also recovered from Klutts’
possession an American Express credit card in the name of Person 1 (B.R.) and one
MasterCard in the name of Person 2 (S.S.).

7. On or about September l, 2018, investigators advised Edwards of his Miranda
wamings. Edwards waived these rights and agreed to speak to investigators Edwards
admitted to making and using altered credit cards around the Dallas and Fort Worth
areas. Edwards stated that he rented hotel rooms with the altered credit cards and then
rented them out to friends or others for one-half of the cost. Edwards stated that he
allowed his friends and others to make charges_typically, snacks and room service_to
the hotel rooms. Edwards advised that he has made approximately $250,000.00 in
fraudulent charges to credit cards since March or April of 2018. Edwards gave
investigators verbal consent to search one of his cellular telephones located in room 226.
Investigators observed Facebook messenger text messages between Edwards and others

concerning hotel rooms and credit card numbers.

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8. On or about September l, 2018, investigators advised Klutts of her Miranda
warnings. Klutts waived these rights and agreed to speak to investigators Klutts stated
that she believes that Edwards obtains the credit card numbers from the dark web and
then figures out an algorithm on how to get more credit card numbers from the same
batch. Klutts stated that she then validates the credit card numbers for Edwards through
an application on her cellular telephone. Klutts further stated that she and Edwards
utilized the credit card numbers to book hotel rooms, and then they sub-rent the hotel
rooms out to other people for a fraction of the cost.

9. On or about September 6, 2018, investigators contacted Person 2 (S.S.) in an
attempt to determine if Klutts had authorization to use his/her MasterCard. During the
telephonic interview, Person 2 (S.S.) stated that he/ she did not provide Klutts permission
or authorization to possess or utilize this credit card.

10. On or about October l 1, 2018, the undersigned received a telephone call from
Edwards requesting that he be allowed to get his 2006 Chevrolet Silverado from law
enforcement The car had previously been impounded. The phone number used by
Edwards was from the Rodeway Inn located at 1832 N Interstate 135 E, Carrollton,
Texas, which is in the Dallas Division of the Northern District of Texas. Upon arriving at
the hotel, investigators identified Klutts in the parking lot.

ll. Klutts stated that Edwards was located inside room 211. Investigators then
proceeded to room 211, where they were met by Edwards, who answered the door and 1

invited investigators inside the hotel room. During the conversation with Edwards, Klutts

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re-entered the hotel room and joined in the discussion During this time, one of the
investigators noticed a credit card located on the nightstand. Investigators advised
Edwards and Klutts of their Miranda Warnings, to which they both waived them and
agreed to speak to investigators Edwards stated that the credit card on the nightstand
was from someone he did not know. The investigation team asked both Edwards and
Klutts if there was anything illegal in the room with respect to altered or counterfeited
credit cards or credit card numbers ln response, Edwards retrieved five white sheets of
paper containing approximately 69 credit card numbers with various expiration dates and
names of other individuals The investigation team asked Edwards and Klutts for consent
to search the room and the personal belongings contained therein. Both Edwards and
Klutts gave investigators verbal consent. The investigative team recovered from
Edwards’ backpack a sheet of paper with handwritten credit card numbers on it (well
over fifteen). Investigators recovered from Klutts’ purse, one`Visa credit card in the
name of Person 3 (C.S.) and one Visa credit card number in the name of Person 4 (N.L.).
12. Before leaving the room, investigators asked Edwards, Klutts, and Subject 2 if
there were any more fraudulently obtained credit cards or credit card numbers Edwards
acknowledged that he had additional credit cards and credit card numbers Edwards then
produced five altered credit cards from under the desk in the hotel room and notepad
cards with over 400 handwritten credit card numbers on them.

13. On or about October 17, 2018, Colleyville Police Department received a state

arrest warrant for Klutts for Engaging in Organized Criminal Activity, a violation of

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Texas Penal Code 71.02. Investigators and Klutts texted back and forth several times to
arrange a meeting at the Colleyville Police Department in an attempt to serve the arrest
warrant; however, Klutts failed to show numerous times

14. On or about November 7, 2018, Carrollton Police Department responded to a
disturbance call at a residence Upon arrival, officers identified all parties at the
residence, including Klutts Klutts was not the owner of the residence Because of the
outstanding arrest warrant, officers took Klutts into custody. Detective Prater, who is
assisting in the investigation of Klutts and others, responded to the scene as well.
Detective Prater asked the home owner for verbal consent to search the residence,
including the bedroom where Klutts was staying. The home owner provided verbal
consent to Detective Prater. The homeowner retrieved a purse from a bedroom where
Klutts had been allowed to stay by the homeowner. Upon returning to the main area of
the residence, the homeowner proceeded to dump the contents onto the floor in front of
Detective Prater. Detective Prater saw on the ground one Texas driver license in the
name of Person 5 (C.C.), one First National Bank of Texas Visa credit card in the name
of Person 5 (C.C.), and one C.C., and one pre-paid credit card issued by Numi Financial.
lt should be noted that the BIN number of the First National Bank of Texas Visa credit
card in the name of Person 5 (C.C.), was recognized by Detective Prater as being the
correct bank identification number (“BIN”) for U.S. Bank. Detective Prater took
possession of Klutts’ cellular telephone as well. Klutts was arrested and taken into

custody.

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15. On or about November 7, 2018, investigators advised Klutts of her Miranda
warnings Klutts waived her Miranda rights and agreed to speak to investigators During
the interview; Klutts admitted that she and Edwards were both involved in a credit card
scheme Klutts stated that she verified the credit cards for Edwards, which were then
used to make fraudulent purchases at hotel rooms and for other services

16. s On or about November 7, 2018, the investigative team asked Klutts for verbal
consent to search her cellular telephone Klutts agreed and provided consent for
investigators to search her cellular telephone During the search of Klutts’ cellular
telephone, investigators discovered approximately 100 credit card numbers and a
merchant identification number.

17. To date, investigators have determined that Edwards and Klutts were in possession

of approximately 1,200 credit card numbers

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CONCLUSION
Based on the forgoing facts and circumstances there is probable cause to believe
that from on or about August 30, 2018 to on or about November 7, 2018, Kayla Klutts
did knowingly and with intent to defraud, possessed fifteen or more devices which are

counterfeit or unauthorized, in violation of 18 U.S.C. § 1029(a)(3).

 

JASON BOSWELL
Special Agent, USSS
Dallas, Texas

day of November, 2018.

  
 
 

Sworn to and subscribed to before me thi

 

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iJKvID L. HoRAN
United States Magistrate Judge
Northern District of Texas

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